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 5
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   United States of America
 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                          CASE NO. 2:13-CR-00103 MCE

12                                   Plaintiff,         STIPULATION AND REQUEST TO CONTINUE
                                                        JUDGMENT AND SENTENCING HEARING;
13                            v.                        ORDER

14   ARTHUR CHANG MENEFEE,

15                                   Defendant.

16
17                                         STIPULATION AND REQUEST

18          Plaintiff United States of America, by and through its counsel of record, and defendant Arthur

19 Chang Menefee, by and through his counsel of record, hereby stipulate and request as follows:

20          1.      This matter is set for a judgment and sentencing hearing on October 19, 2017 at

21 10:00 a.m.
22          2.      Defense counsel requests that the matter be continued for judgment and sentencing to

23 November 2, 2017 at 10:00 a.m. to permit defense counsel additional time to prepare for the hearing.

24 The United States does not oppose.
25          3.      Because the defendant stands convicted by way of his guilty plea, the provisions of the

26 Speedy Trial Act, 18 U.S.C. § 3161, et seq., do not apply to this continuance.

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      Stipulation Re Continuing Sentencing Hearing      1
             Case 2:13-cr-00103-KJM Document 326 Filed 10/18/17 Page 2 of 3


 1         IT IS SO STIPULATED AND REQUESTED.

 2                                                      Respectfully submitted,

 3 Dated: October 12, 2017                              PHILLIP A. TALBERT
                                                        United States Attorney
 4
                                                        /s/ Todd A. Pickles
 5                                                      TODD A. PICKLES
                                                        Assistant United States Attorney
 6

 7 Dated: October 12, 2017
                                                        /s/ Todd A. Pickles for
 8                                                      MARK J. REICHEL, ESQ.

 9                                                      Counsel for defendant Arthur Menefee

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     Stipulation Re Continuing Sentencing Hearing   2
              Case 2:13-cr-00103-KJM Document 326 Filed 10/18/17 Page 3 of 3


 1
                                                     ORDER
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            This matter came before the Court on the parties’ request to continue the judgment and
 3
     sentencing hearing. The Court ADOPTS the parties’ stipulation and CONTINUES the matter for
 4
     judgment and sentencing on November 2, 2017 at 10:00 a.m.
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            IT IS SO ORDERED.
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     Dated: October 17, 2017
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      Stipulation Re Continuing Sentencing Hearing     3
